                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                         BIG STONE GAP DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )
                                                  )     Case No. 2:15CR00015-009
                                                  )
  v.                                              )            OPINION
                                                  )
  SAMUEL LEE COURTNEY,                            )     By: James P. Jones
                                                  )     United States District Judge
                   Defendant.                     )

        Samuel Lee Courtney, Pro Se Defendant.

        The defendant, Samuel Lee Courtney, proceeding pro se, filed a second

  Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255.

  Among other things, Courtney alleges that he is entitled to be resentenced in light

  of United States v. Simms, 914 F.3d 229 (4th Cir. 2019) (holding that brandishing a

  firearm in connection with a crime of violence, as defined in 18 U.S.C.

  § 924(c)(3)(B), is unconstitutionally vague). After review of the record, I must

  summarily deny Courtney’s § 2255 motion as successive.1




        1
            Under Rule 4 of the Rules Governing § 2255 Proceedings, the court may
  summarily dismiss a § 2255 motion where it is clear from the motion and the record of
  prior proceedings that the defendant is not entitled to relief.




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        This court may consider a second or successive § 2255 motion only upon

  specific certification from the United States Court of Appeals for the Fourth

  Circuit that the claims in the motion meet certain criteria. See § 2255(h). Court

  records indicate that Courtney previously filed a § 2255 motion concerning this

  same conviction and sentence, and I dismissed it as without merit. United States v.

  Courtney, No. 2:15CR00015-009, 2018 WL 510110 (W.D. Va. Jan. 23, 2018).

  Because Courtney offers no indication that he has obtained certification from the

  court of appeals to file a second or successive § 2255 motion, I must dismiss

  Courtney’s current action without prejudice.

        A separate Final Order will be entered herewith.


                                                 DATED: February 21, 2019

                                                 /s/ James P. Jones
                                                 United States District Judge




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